                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-15-7
 v.                                                   )
                                                      )       COLLIER / LEE
 RICHARD DINKINS                                      )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the twenty-seven-

 count Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3)

 adjudicate Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

 remain in custody until sentencing in this matter (Court File No. 356). Neither party filed a timely

 objection to the report and recommendation. After reviewing the record, the Court agrees with the

 magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge’s report and recommendation (Court File No. 356) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Indictment;

        (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

                and



Case 1:12-cr-00015-TRM-SKL           Document 363         Filed 09/11/12     Page 1 of 2      PageID
                                           #: 818
       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, November 29, 2012 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                              2


Case 1:12-cr-00015-TRM-SKL       Document 363      Filed 09/11/12    Page 2 of 2    PageID
                                       #: 819
